                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA,                         )
                                                   )
        Plaintiff,                                 )
                                                   )         No.: 1:09-CR-123
 v.                                                )
                                                   )         Collier/Lee
 GINGER WIGGINS                                    )
                                                   )
        Defendant.                                 )


                                               ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant Ginger Wiggins’s (“Defendant”) motion to withdraw her not guilty plea to

 Count One of the Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of

 the charge in Count One, that is of conspiracy to manufacture, distribute, and possess with the intent

 to distribute fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser included offense of the charge in Count One, that is of conspiracy to

 manufacture, distribute, and possess with the intent to distribute fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter

 (Court File No. 213). Defendant filed a timely objection to the report and recommendation,

 objecting insofar as the magistrate judge revoked Defendant’s bond and recommended she remain

 in custody until the sentencing of this matter (Court File No. 214).




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        Under 18 U.S.C. §§ 3143(a)(2) and 3142(f)(1)(C), the Court is required to order a defendant

 detained while awaiting sentencing, if that defendant has been found guilty of “an offense for which

 a maximum term of imprisonment of ten years or more is prescribed in the Controlled Substances

 Act (21 U.S.C. 801 et seq.).” § 3142(f)(1)(C). The only exception is when “an attorney for the

 Government has recommend that no sentence of imprisonment be imposed on the person” and the

 Court “finds by clear and convincing evidence that the person is not likely to flee or pose a danger

 to any other person or the community.” § 3143(a)(2).

        In this case, Defendant pleaded guilty to the lesser included offense of conspiracy to

 manufacture, distribute, and possess with the intent to distribute fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(b)(1)(B). This offense carries a statutory range of five to forty years of

 imprisonment. § 841(b)(1)(B); see also § 846 (assigning same penalties for a conspiracy as assigned

 to the underlying offense). Therefore, Defendant falls under the requirements stated above. Because

 no attorney from the Government has recommended that no sentence of imprisonment be imposed,

 the exception to § 3143(a)(2) does not apply. For this reason, the magistrate judge properly revoked

 Defendant’s bond and recommended she remain in custody until the sentencing of this matter.

        After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation, including the portion objected to by Defendant.           Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 213)

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

                is GRANTED;


                                                  2


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       (2)   Defendant’s plea of guilty of the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture, distribute, and possess with the intent to

             distribute fifty (50) grams or more of a mixture and substance containing a detectable

             amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and

             841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy that is of conspiracy to manufacture, distribute,

             and possess with the intent to distribute fifty (50) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine in violation of 21

             U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on February 25, 2010 at 2:00 p.m. before the Honorable

             Curtis L. Collier.

       SO ORDERED.

       ENTER:



                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




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